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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
                                                       Criminal Action No. 21-00073
                         v.

 NICHOLAS DECARLO and                                  Judge Beryl A. Howell
 NICHOLAS OCHS,

                         Defendants.


                                              ORDER

        Upon consideration of defendants Nicholas DeCarlo and Nicholas Ochs’s Motion for Post-

Conviction Relief, ECF No. 112, the legal memoranda in support and in opposition and

consideration of the entire record, for the reasons set forth in the accompanying Memorandum

Opinion, it is hereby—

    ORDERED that defendants’ Motion for Post-Conviction Relief, pursuant to 28 U.S.C. § 2255,

ECF No. 112, is GRANTED; it is further

    ORDERED that each defendant’s conviction on Count Two of the Superseding Indictment

charging a violation of 18 U.S.C. § 1512(c)(2) is VACATED; it is further

    ORDERED that the vacatur of each defendant’s conviction on Count Two of the Superseding

Indictment charging a violation of 18 U.S.C. § 1512(c)(2) is STAYED for 30 days, until December

2, 2024, to allow the government to determine whether to revive dismissed charges or bring

additional charges against defendants; it is further

    ORDERED that defendants be promptly released from the custody of the U.S. Bureau of

Prisons and, during the stay of vacatur of defendants’ convictions, defendants shall be subject to

the same conditions of release previously imposed prior to their surrender to serve their sentences;

and it is further
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    ORDERED that the parties shall file jointly, prior to the expiration of the stay of vacatur of

defendants’ conviction and no later than November 25, 2024, a report informing the Court as to

the status of this matter.

SO ORDERED.

        Date: November 1, 2024
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                                                    BERYL A. HOWELL
                                                    United States District Judge
